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Approved:
               CHELSEA L. SCISM
               Assistant United States Attorney

Before:        THE HONORABLE GABRIEL W. GORENSTEIN
               United States Magistrate Judge
               Southern District of New York
                                                                        23 MAG4912
 UNITE D STATES OF AMERICA                              COMPLAINT

                        V.                              Violations of 18 U.S.C. §§ 751 (a),
                                                        922(g)(l), 4082(a), and 2
 ANTHONY GOM EZ,
                                                        COUNTY OF OFFENSE :
                             Defendant.                 BRONX


SOUTHERN DISTRICT OF NEW YORK, ss. :

               DIANA SPANGENBERG, being duly sworn, deposes and says that she is a
Detective with the New York City Police Department ("NYPD"), and charges as follows:

                                      COUNT ONE
                    (Possession of Ammunition After a Felony Conviction)

      I.      On or about June 16, 2023, in the Southern District of New York and elsewhere,
ANTHONY GOMEZ, the defendant, knowing he had previously been convicted in a court of a
crime punishable by imprisonment for a term exceeding one year, knowingly possessed
ammunition, to wit, a 9mm luger shell casing, and the ammunition was in and affecting commerce.

                        (Title 18, United States Code, Section 922(g)(l).)

                                              COUNT TWO
                                          (Escape from Custody)

        2.      On or about June I 6, 2023 , in the Southern District of New York and elsewhere,
ANTHONY GOMEZ, the defendant, knowingly escaped and att:·mpted to escape from the custody
of the Attorney General and his authorized representative, and from an institution and facility in
which he was confined by direction of the Attorney General, and from custody under and by virtue
of process issued under the laws of the United States by a court, judge, and magistrate judge, and
from the custody of an officer and employee of the United States pursuant to lawful arrest, which
custody and confinement was by virtue of an arrest on a charge of felony , and conviction of an
offense, to wit, ANTHONY GOMEZ, while in the custody of the Bronx Residential Re-Entry
Center (" Bronx RRC"), following a conviction in the United States District Court for the Southern
District of New York for conspiracy to commit Hobbs Act robbery, in violation of 18 U.S.C .
§ 1951 , and using, possessing, and carrying a firearm during and in relation to a crime of violence,
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in violation of 18 U.S.C. § 924(c)(l), left the Bronx RRC faikd to return to the Bronx RRC as
required.

                 (Title 18, United States Code, Sections 751 (a), 4082(a), and 2.)

               The bases for my knowledge and for the foregoing charges are, in part, as follows :

        3.      I am a Detective with the Bronx Violent Crimes Squad of the New York City Police
Department ("NYPD") and I have participated in numerous investigations of violent crimes,
including unlawful firearms possession and shootings. I have been personally involved in the
investigation of this matter. I base this affidavit on that experience and on training I have received,
on my conversations with other law enforcement officials, and on my examination of various
reports and records. Because this affidavit is being submitted for the limited purpose of
demonstrating probable cause, it does not include all the facts I have learned during the course of
my investigation. Where the contents of documents and the actions, statements, and conversations
of others are reported herein, they are reported in substance a11rl in part, except where otherwise
indicated.

        4.      Based on my review of documents and reports from the United States Department
of Justice, the Federal Bureau of Prisons ("BOP"), and the Bronx RRC, and my discussions with
other law enforcement officers, I have learned, among other things, the following:

                a.      ANTHONY GOMEZ, the defendant, was convicted in the United States
District Court for the Southern District of New York of conspiracy to commit Hobbs Act robbery,
in violation of 18 U .S.C. § I 951; and using, carrying, and possessing firearms, during and in
relation to a crime of violence, in violation of 18 U.S.C. § 924(c)(l)(A)(i). See United States v.
Anthony Gomez, 15 Cr. 535 (SHS) . In connection with that conviction, on or about January 27,
2016, the Honorable Sidney H. Stein, United States District Judge for the Southern District of New
York, sentenced GOMEZ to a term of 120 months ' imprisonment to be served in the custody of
the BOP. GOMEZ's sentence of imprisonment has not been completed.

               b.      On or about April 26, 2023, GOMEZ was transferred from the United States
Penitentiary Lee to the Bronx RRC to serve the remainder of his sentence. The Bronx RRC is a
BOP facility.

                                    Escape from the Bronx RRC

              c.      On or about June 16, 2023 , GOMEZ was away from the Bronx RRC on an
approved pass with a curfew of 8:30 p.m .

                d.     At approximately 8:27 p.m., GOMEZ called the Bronx RRC to report, in
substance and in part, that he had stopped at his girlfriend ' s apartment and, while he was there,
NYPD designated the area outside of his girlfriend ' s apartment as a crime scene. He falsely
reported that the NYPD would not allow anyone in or out of the area. GOMEZ also falsely
reported to the Bronx RRC that as a result, he was not able to return to the Bronx RRC in time for
his 8:30 p.m. curfew. GOMEZ subsequently did not return to the Bronx RRC before his 8:30 p.m.
curfew, or at all. The Bronx RRC, relying on GOMEZ's false report, required GOMEZ to check
in by phone approximately every half hour until he was permitted to leave the area. While hiding
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from the police, GOMEZ did so until approximately 2:20 a.m. , but thereafter discontinued contact
with the Bronx RRC.

                e.     In actuality, it is not the case that NYPD prevented GOMEZ from leaving
his girlfriend's apartment or leaving the crime scene area. As described in further detail below,
the crime scene was established following a shooting aimed at NYPD police officers. The real
reason that GOMEZ could not return to the Bronx RRC in time for his 8:30 p.m. curfew is that, as
described in further detail below, he was hiding from the NYPD because he was wanted for
committing that shooting.

                    June 16, 2023 Shooting Aimed at NYPD Pnlice Officers

        5.     Based on my participation in this investigation, my review of documents and
reports from the NYPD, my review of surveillance camera footage, and my conversations with
other law enforcement officers, I have learned the following:

                a.     On or about June 16, 2023 , at approximately 7:39 p.m. in the Bronx, New
York, an individual wearing a grey hooded sweatshirt, jeans, and sneakers-who was later
identified as ANTHONY GOMEZ, the defendant-was captured on surveillance video crossing
Vyse Avenue, carrying an object believed to be a firearm in the front pocket of his sweatshirt. A
still image from the surveillance footage is below.




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               b.     As pictured below, the surveillance video next shows GOMEZ removing
the firearm from his sweatshirt pocket and attempting to hide it in the front-right wheel well of a
white sedan ("Vehicle-I") parked on Vyse A venue.




                c.      After hiding the firearm , GOMEZ initially walked away from Vehicle-I ,
heading northbound towards East I 74 th Street. Moments later, officers of the NYPD who were
working a patrol shift on foot (the " Southbound Police Officers") turned right from East 174th
Street onto Vyse A venue. When GOMEZ saw the Southbound Police Officers, he immediately
removed the firearm from the wheel well of Vehicle-I and put it back into his sweatshirt pocket.
The Southbound Police Officers ordered GOMEZ, in substance and in part, to put the firearm
down. GOMEZ did not comply and instead took off running southbound on Vyse Avenue. Below
are still images from surveillance footage depicting GOMEZ removing the firearm from Vehicle- I
while a police officer approaches in the background, and subsequently fleeing.
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                d.    While fleeing and being pursued by the Southbound Police Officers,
GOMEZ came upon additional police officers on foot who were running northbound towards him
on Vyse Avenue (the "Northbound Police Officers"). GOMEZ raised the firearm and aimed it at
the Northbound Police Officers several times as he ran, and GOMEZ fired one shot in their
direction. Below are still images from surveillance video depicting GOMEZ brandishing the
firearm at the moment he discharged it. The Northbound Police Officers are circled in yellow in
the first image, and GOMEZ is circled in red in the second image.




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                            Flight from NYP D and Subsequent Arrest

                e.     After firing a gunshot aimed at NYPD officers, at approximately 7:40 p.m .,
GOM EZ-while still holding the firearm-ran inside a building on Vyse Avenue ("Building- 1").
Below is a still image from Building-1 ' s security camera foota[_ t:.




              f.      After the shooting, NYPD spoke to a witness (" Witness-I ") who knows
GOMEZ, had seen him a couple of weeks prior to the shooting, and is familiar with GOMEZ ' s
Facebook profile . Witness-I identified the individual believed to be the shooter depicted in a still
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image from certain surveillance footage recorded on June 16, 2023, in the vicinity of Building-I,
wearing the same clothing as the shooter (the "Still Image"), to be someone named "Anthony
Gomez." Witness-I also viewed an NYPD photograph of GOMEZ and confirmed this to be the
same person Witness-I knows as "Anthony Gomez."

               g.     NYPD also submitted the Still Imap-<" to a law enforcement facial
recognition database, which likewise identified the individual d1 ~picted as "Anthony Gomez."

               h.     At approximately 3:30 a.m. on June 17, 2023-about 8 hours after the
shooting-GOMEZ exited a neighboring building with a rooftop that connects to Building-I
("Building-2") and was immediately arrested by NYPD. GOMEZ had removed his grey sweatshirt
but wore similar jeans and the same sneakers he wore during the shooting. A still image from
security camera footage from Building-2 is below.




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                 i.    Below is a comparison of GOMEZ's snr: tkers at the time of the shooting,
on the left, with GOMEZ's sneakers at the time of his apprehen sion upon his exit from Building-
2, on the right, with GOMEZ's sneakers following his arrest, on the bottom.




                                        The Ammunition

               j.     The NYPD recovered one 9mm luger shell casing (the "Ammunition") from
the scene of the shooting, on the sidewalk outside of Building-I. The Ammunition is pictured
below:




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                k.    The NYPD also recovered a deformed fired bullet from the upper door
frame of the passenger side, rear door of a vehicle parked on Vyse A venue during the shooting
(" Vehicle-2"). A photograph of Vehicle-2 is below.




        6.    I have reviewed communications with a Special Agent with the United States
Department of Justice ' s Bureau of Alcohol, Tobacco, Firearms and Explosives, who has confirmed
that the Ammunition was manufactured outside the State of New York.

       WHEREFORE, I respectfully request that ANTHONY GOMEZ, the defendant, be
imprisoned or bailed, as the case may be.
                                         ~       -




                                     DI
                                     Detective
                                     NYPD



Sworn to before me on this 20th day of June, 2023.




THE
              Jw . h
        NORABLE GAB~EL          ~   . GORENSTEIN
U · d States Magistrate Ju~
Southern District of New York




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